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                  IN THE UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF ILLINOIS—EASTERN DIVISION
______________________________________________________________________________
JOSIAH DUEHNING,                    )
                  Plaintiff,        )
                                    )
                  vs.               )     Case No.
                                    )
CITY OF AURORA, a Municipal         )
Corporation, and Officer VICTOR     )
DEVALDIVIELSO, Star No. 366,        )
________________Defendants.________)_________________________________________

                                   COMPLAINT

      Plaintiff, by his undersigned counsel, complains of defendant as follows:

                               Nature of the Case

1.      This is an action under the federal civil rights laws by which plaintiff,

an individual who is compelled by his sincerely-held religious faith

(Christianity) to go “into all the world, and preach the gospel to every creature”

(Mark 16: 15)—the Gospel being the “good news” that Jesus Christ, the Son of

God, fully God and fully man, was crucified in order to pay the penalty (eternal

punishment) for the sins of all who do and will believe that He is God, and that

he died and rose from the grave three days later (some 2000 years ago).

      Plaintiff seeks to redress and remedy the violation of his federal

constitutional rights under the First, Fourth, and Fourteenth Amendments to

the United States Constitution. More specifically, plaintiff seeks a declaration

that his own rights were infringed and suppressed when the defendants, an

Illinois municipality and its police officer, unlawfully interfered with and shut

down his public presentation of the Gospel of Jesus Christ and leafleting which

plaintiff was carrying on in a wholly peaceable and orderly manner on a public
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sidewalk, a quintessential traditional public forum for time immemorial.

Defendant enforced a heckler’s veto against plaintiff, pushing him onto private

property for the purpose of arresting him, and stopping him from exercising his

rights of free speech, free assembly, and free expression of his religious faith.

                                Jurisdiction & Venue

2.      This Court has jurisdiction over the defendant, a city within the State of

Illinois. Plaintiff resides in Aurora, Illinois. The events giving rise to plaintiff’s

claim occurred in Aurora, Illinois, which sits in Will, Kane, Kendall, and

DuPage Counties.

3.      This Court has jurisdiction over the subject matter of this dispute, as

plaintiff’s claim arises under the First, Fourth, and Fourteenth Amendments to

the U.S. Constitution, and 42 U.S.C. §1983, as well as ancillary state law

claims under this Court’s supplemental jurisdiction pursuant to 28 U.S.C. §

1367.

                                     The Parties

4.      Plaintiff, Josiah Duehning (“Duehning” or “Plaintiff”), is an individual

who is compelled by his sincerely-held religious faith (Christianity) to go “into

all the world, and preach the Gospel to every creature” (Mark 16:15)—the

Gospel being the “good news” that Jesus Christ, the only begotten Son of God,

born of the virgin Mary, fully God and fully man, was crucified on a cross and

died in order to pay the penalty (eternal punishment) for the sins of all who do

and will believe that He is God, and that He rose from the grave three days

after His death on the cross some 2000 years ago, and ascended into Heaven


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where He is seated on the right hand of God His Father. Duehning preaches

and distributes tracts about Christ and His gift of salvation to all who would

believe in Him—“salvation” meaning attaining the perfect, blessed estate of

eternal life in Heaven in the direct physical presence of God after natural

death, and being filled with and empowered by the Holy Spirit (the third person

of the Godhead, or Trinity, the others being God the Father and God the Son—

Jesus Christ) to turn away from sin and sinful lifestyles while alive on earth

prior to natural death.

5.     Defendant CITY OF AURORA (“Aurora”) is a municipal corporation and

unit of local government located in Will, DuPage, Kane, and Kendall Counties,

Illinois.

6.     Defendant Officer VICTOR DEVALDIVIELSO (“DeValdivielso”) is an

Aurora police officer.

7.     Josiah Duehning was handing out on August 28, 2012 tracts which

related the Gospel of Jesus Christ on the public sidewalk in front of East

Aurora High School in Aurora, Illinois.

8.     He was first approached by an unidentified woman who told him he

would have to cross the street.

9.     He did not have any reason to believe that this woman was a school

official as she did not identify herself.

10.    Officer DEVALDIVIELSO approached Plaintiff and admonished him that

he should have left in response to the woman who approached him earlier, and

demanded his identification.


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11.    Plaintiff moved onto the sidewalk (as he realized he was on the grass) and

gave his identification to DEVALDIVIELSO, and stated to the officer that he had

handed out tracts on this same sidewalk before many times and that police

allowed the same.

12.    DEVALDIVIELSO made mention that Plaintiff was on the grass which

was school property. Plaintiff responded by pointing out that he had moved

onto the sidewalk (without being asked) when he realized he was on the grass

(after he had gone to the grass earlier to speak with a group of students who

desired to talk with him).

13.    While DEVALDIVIELSO radioed Plaintiff’s identification, the original lady

returned to admonish Plaintiff to stop passing out his Christian tracts. Plaintiff

continued to pass out tracts to students willing to receive them.

14.    DEVALDIVIELSO then twisted Plaintiff’s arm and pushed him onto the

grass of the school property, and Plaintiff verbally and emphatically stated that

he did not want to go on the grass. DEVALDIVIELSO then stated “Don’t resist, I

WILL take you down.” At that point, he handcuffed and arrested Plaintiff for

trespass (claiming that the school dean had asked him to leave), for which he

was charged under City Ordinance No. 29 29-93(a)(1).

15.    The refusal to allow Plaintiff to pass out Gospel tracts on the public

sidewalk near the school, and the subsequent arrest for trespass, violate the

First Amendment because the sidewalk (even in a school context) is a public

forum.




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16.    The sidewalk along the front of East Aurora High School, at 779 Fifth

Avenue in Aurora, is entirely public, along the side of a public street, and in no

way was any notice given to any passersby, or to Plaintiff or anyone else, that it

magically became school property when in front of the school.

17.    In addition, because DEVALDIVIELSO dragged Plaintiff from the

sidewalk onto school property before arresting him, he effectively invited him

onto the property, being authorized to do so (indeed he compelled him onto the

property). Invitation, an affirmative defense to trespass, negates the charge of

trespass.

   Count I: Violation of First and Fourteenth Amendments, 42 U.S.C. §1983:
                             Officer DEVALDIVIELSO

18.    Plaintiff repeats and realleges each and every allegation contained in

paragraphs 1 through 17 inclusive above with the same force and effect as if

fully set forth.

19.    DEVALDIVIELSO approached Duehning and forbade him from handing

out Gospel tracts on a public sidewalk, threatening arrest for the same,

violated Duehning’s First and Fourteenth Amendment rights to freedom of

speech (preaching), assembly (demonstrating), press (literature distribution),

and exercise of religion (proclaiming the Biblical Gospel of Jesus Christ).

20.    Plaintiff was exercising his First Amendment right to freedom of speech

and religious expression on a public sidewalk, which constitutes a traditional

public forum; and he was deprived of these rights and had a chill placed on his

rights to peacefully and lawfully preach the Gospel of Jesus Christ as a direct

result of DEVALDIVIELSO’S actions which were taken under color of law.
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21.     DEVALDIVIELSO does not enjoy qualified immunity because as a state

actor acting under color of law, he knew or should have known that his actions

described above against Plaintiff were unconstitutional and unlawful under

clearly established principles of federal constitutional law.

22.     By prohibiting Plaintiff from distributing literature and Bibles and

preaching on public ways, by threats, intimidation, coercion, and ultimately

arrest, DEVALDIVIELSO caused injury to him in the following ways:

a.      depriving him of his ability to reach his intended audience with his

literature, and preaching; and

b.      cutting off his exercise of First Amendment rights to freedom of speech,

assembly, press, and free exercise of religion.

      Count II: Violation of Fourth and Fourteenth Amendments and 42 U.S.C.
                        §1983—False Arrest: DEVALDIVIELSO

23.     Plaintiff realleges all preceding paragraphs and incorporates them in this

Count.

24.     DEVALDIVIELSO’S actions toward the plaintiff violated his Fourth and

Fourteenth Amendment rights to be free from unlawful seizure and arrest,

because DEVALDIVIELSO entrapped Plaintiff by dragging him physically onto

school property (when Plaintiff had been on a public sidewalk) so that he could

arrest him for trespass.

24.     DEVALDIVIELSO does not enjoy qualified immunity because as a state

actor acting under color of law, he knew or should have known that his actions

described above against Plaintiff were unconstitutional and unlawful under

clearly established principles of federal constitutional law.
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   Count III: Violation of Fourth and Fourteenth Amendments and 42 U.S.C.
                  §1983—Unlawful Detention: DEVALDIVIELSO

25.    Plaintiff realleges all preceding paragraphs and incorporates them in this

Count.

26.    DEVALDIVIELSO’S actions toward the Plaintiff—arresting him as a result

of entrapment thus causing him to be detained—violated his Fourth and

Fourteenth Amendment rights to be free from unlawful seizure and arrest.

27.    DEVALDIVIELSO does not enjoy qualified immunity because as a state

actor acting under color of law, he knew or should have known that his actions

described above against Plaintiff were unconstitutional and unlawful under

clearly established principles of federal constitutional law.

   Count VI: Violation of Fourth and Fourteenth Amendments and 42 U.S.C.
                   §1983—Excessive Force: DEVALDIVIELSO

28.    Plaintiff realleges all preceding paragraphs and incorporates them in this

Count.

29.    DEVALDIVIELSO’s actions toward the Plaintiff—using excessive force in

the course of arresting him, notably by literally twisting his arm and dragging

and physically forcing him off of a public sidewalk and onto grass which was

school property, against his will, for the purpose of justifying an arrest for

trespass where no such justification existed—egregiously violated his Fourth

and Fourteenth Amendment rights.

30.    DEVALDIVIELSO does not enjoy qualified immunity because as a state

actor acting under color of law, he knew or should have known that his actions




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described above against Plaintiff were unconstitutional and unlawful under

clearly established principles of federal constitutional law.

      Count V: Violation of First, Fourth, and Fourteenth Amendments and 42
                    U.S.C. §1983—Retaliation: DEVALDIVIELSO

31.     Plaintiff realleges all preceding paragraphs above and incorporates them

herein.

32.     Defendants have engaged in retaliation against Plaintiff for his exercise of

his clearly established First Amendment right to comment publicly on matters

of public concern—namely, his preaching the Gospel and leafleting on the same

topic which often meets hostility from modern culture, as Plaintiff’s religious

beliefs and preaching and literature (and the Bible from which they derive)

condemn such cultural icons as homosexuality, fornication, adultery, and

abortion.

33.     Defendant knew or reasonably should have known that Plaintiff had and

has a clearly established First Amendment right to speak out publicly on

matters of public concern, and they nevertheless proceeded to effect retaliation

against him for his exercise of said First Amendment rights by squelching his

speech based on its content and even threatening arrest for such speech.

34.     As a result of its’ actions, Defendant caused injury to Plaintiff in the

following ways:

a.      depriving him of his ability to reach his intended audience with his

literature and demonstration;

b.      chilling his exercise of First Amendment rights;



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c.     effecting an illegal seizure and arrest and detention without probable

cause; and

d.     depriving him of the equal protection of the laws under the Fourteenth

Amendment.

      Count VI: Violation of First and Fourteenth Amendments and 42 U.S.C.
         §1983—Unconstitutional Custom and Policy: CITY OF AURORA

35.    Plaintiff realleges all preceding paragraphs and incorporates them in this

Count.

36.    Defendant maintains a policy by which treats public sidewalks

surrounding schools are erroneously treated as the school’s private property.

37.    In addition, Defendant has a policy and custom of depriving citizens who

are not labor picketers (including Duehning) of the equal protection of the laws,

and engaging in viewpoint discrimination and equal protection violations

against him (as opposed to labor picketers) by imposing restrictions and

prohibitions upon his rights to speech and expression which are not imposed

upon labor picketers (see 820 ILCS 5/1 et.seq.).

38.    Such policies are unconstitutional facially, and as applied to the plaintiff,

as they violate his First Amendment rights to freedom of expression on public

sidewalks, which are quintessential public fora.

39.    Defendant by its above stated policy caused injury to plaintiff in the

following ways:

a.     depriving him of his ability to reach his intended audience with his

literature, and preaching; and



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b.      cutting off his exercise of First Amendment rights to freedom of speech,

assembly, press, and free exercise of religion.

                    Count VII: Battery—§1983: DEVALDIVIELSO

40.     Plaintiff realleges all preceding paragraphs and incorporates them in this

Count.

41.     DEVALDIVIELSO’s actions toward the Plaintiff—using physical force in

the course of arresting him, notably by literally twisting his arm and dragging

and physically forcing him off of a public sidewalk and onto grass which was

school property, against his will, for the purpose of justifying an arrest for

trespass where no such justification existed—egregiously constituted an

unjustified and offensive touching of Plaintiff.

42.     Plaintiff was not on school property until DEVALDIVIELSO forced him

onto it before arresting him, and Plaintiff never resisted arrest or posed any

physical threat to DEVALDIVIELSO.

     Count VIII: Illinois Constitution: Freedom of Speech and Religion, Article I,
                                    Sections 3 and 4

43.     Plaintiff realleges all above paragraphs and incorporates them into this

Count.

44.     The acts of the Defendant-Officer DEVALDIVIELSO and the City of

Aurora described in the above claims violated the Illinois Constituion’s

Freedom of Speech and Religion clauses.

45.     As a result of its’ actions, Defendants caused injury to Plaintiff in the

following ways:



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a.      depriving him of his ability to reach his intended audience with his

literature and demonstration;

b.      effecting an illegal seizure of Duehning without probable cause; and

c.      chilling his exercise of Illinois Constituional rights to speech, assembly,

press, and free exercise of religion.

        Count IX: Declaratory Judgment pursuant to 735 ILCS 5/2-701: all
                                  Defendants

46.     Plaintiff realleges all previous paragraphs and incorporates them into

this Count.

47.     The Illinois Code of Civil Procedure, at 735 ILCS 5/2-701, provides the,

“[t]he court may, in cases of actual controversy, make binding declarations of

rights … at the instance of anyone interested in the controversy.”

48.     Plaintiff seeks a declaration that the public sidewalks in front of schools

such as East Aurora are public fora and thus open for activity such as his

preaching and leafleting.

49.     Plaintiff contends that Defendants’ actions in forbidding his religious

speech on public sidewalks in front of schools such as East Aurora violate the

Illinois and U.S. Constitutions.

50.     Defendants disagree that with the above contention.

51.     Plaintiffs and Defendants are in actual controversy over the matters

alleged herein.

52.     Plaintiff is interested in the controversy.

53.     Plaintiff thus seeks declaratory relief under 735 ILCS 5/2-701.



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  Count X: Declaratory Judgment pursuant to Fed.R.Civ.P. 57 and 28 U.S.C.
                           §2201: All Defendants

54.     Plaintiff realleges all above paragraphs paragraphs and incorporates

them into this Count.

55.     The Illinois Code of Civil Procedure, at 735 ILCS 5/2-701, provides the,

“[t]he court may, in cases of actual controversy, make binding declarations of

rights … at the instance of anyone interested in the controversy.”

56.     Plaintiff seeks a declaration that the public sidewalks in front of schools

such as East Aurora are public fora and thus open for activity such as his

preaching and leafleting.

57.     Plaintiff contends that Defendants’ actions in forbidding his religious

speech on public sidewalks in front of schools such as East Aurora violate the

U.S. Constitution.

58.     Defendants disagree that with the above contention.

59.     Plaintiffs and Defendants are in actual controversy over the matters

alleged herein.

60.     Plaintiff is interested in the controversy.

61.     Plaintiff thus seeks declaratory relief under


  Count XI: Indemnification Claim Pursuant to 745 ILCS 10/9-102: CITY OF
                                  AURORA

62.     Plaintiff realleges all above paragraphs and incorporates them into this

Count.




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63.     The acts of the Defendant-Officer DEVALDIVIELSO described in the

above claims were willful and wanton, and committed in the scope of

employment.

64.     Pursuant to the Illinois Tort Immunity Act, 745 ILCS 10/9-102,

Defendant City of Aurora is liable for any judgments in this case arising from

this individual Defendant’s actions.

                                     Conclusion

        Wherefore, Plaintiff requests that this Court grant the following relief:

A.      That all Defendants’ actions and policies and customs, as alleged above,

be declared unconstitutional as violating the First, Fourth and Fourteenth

Amendments and 42 U.S.C. §1983, as well as Illinois statutory and common

and constitutional law;

B.      That Defendants be ordered to pay compensatory and exemplary

damages to Plaintiff, as well as attorney’s fees pursuant to 42 U.S.C. §1988

and applicable Illinois statutes;

C.      That all Defendants be enjoined from further violating the constitutional

rights of Plaintiff and/or others similarly situated, pending resolution of this

litigation.

D.      A declaratory judgment to the effect that the public sidewalks

surrounding schools are public fora; and

E.      Any and all other relief this Court deems just.

PLAINTIFF DEMANDS TRIAL BY JURY

                            JOSIAH DUEHNING, Plaintiff


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